         EXHIBIT 39




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1                         UNITED STATES DISTRICT COURT
2                   FOR THE EASTERN DISTRICT OF TENNESSEE
3        *****************************************************
         ULTIMA SERVICES CORPORATION,
4
                             Plaintiff,
5
6        -vs-                         Case No. 2:2020-cv-00041
7
         U.S. DEPARTMENT OF AGRICULTURE, et al.,
8
                             Defendants.
9        *****************************************************
10              VIDEOCONFERENCED DEPOSITION OF HOWARD STOVER
11                              Thursday, May 5, 2022
12                                       10:02 a.m.
13                                    Pages 1 - 116
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19                      REPORTED BY:         KARINA L. JENNINGS
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1
2          Videoconferenced deposition of HOWARD STOVER, taken
3        pursuant to Notice before Karina L. Jennings, Court
4        Reporter, and Notary Public for the Commonwealth of
5        Virginia.
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1                                  A P P E A R A N C E S
2
3         ON BEHALF OF THE PLAINTIFF:
4                   MICHAEL E. ROSMAN, ESQUIRE
5                   CENTER FOR INDIVIDUAL RIGHTS
6                   1100 Connecticut Avenue, N.W., Suite 625
7                   Washington, D.C.              20036
8                   rosman@cir-usa.org
9
10
11        ON BEHALF OF THE AGENCY:
12                  JULIET GRAY, ESQUIRE
13                  U.S. DEPARTMENT OF JUSTICE
14                          Civil Rights Division
15                  150 M Street, N.E.
16                  Washington, D.C.              20002
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1        as my memory goes, I believe that is accurate.
2                 Q          Okay.     But you did administer those
3        contracts, correct?
4                 A          I did.
5                 Q          Okay.     Now, during that same period of
6        time, were you actually soliciting contracts for
7        other services for NRCS?
8                 A          Yes.
9                 Q          Okay.     Just generally -- very generally
10       how would that process work?
11                A          Well, there's three main processes that
12       we use.       The first one is of course full and open
13       through the government public network, what at the
14       time was known as the business opportunities web
15       site, and -- to get on that web site -- for a
16       contractor to be -- to get a contract from that web
17       site or to participate in a solicitation, he only
18       needed to be registered with -- with SAM, so he
19       had -- had to be registered with the government, but
20       that was the only requirement.
21                           The other type of contracts we did was
22       from the Federal Schedule, and for a contractor to be
23       awarded a contract from the Federal Schedule, he
24       already had to have a contract on the Federal
25       Schedule.

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1                            And the third procurement method we used
2        was through the 8(a) program, which we awarded
3        contracts to disadvantaged businesses.                      And to be a
4        8(a) contractor, you had to be registered with the
5        Small Business Administration.
6                            So basically those are the three tools
7        for use.       Once in a while something quirky would come
8        up, like for furniture we would use the prison
9        system, but by and large -- oh, excuse me -- there's
10       one more -- we would also use a Ability One, which is
11       for handicapped people, and it worked somewhat like
12       the 8(a) program.            But -- so basically those are the
13       methods we used to contract for services -- for
14       supplies and services.
15                Q          Okay.     Let me just ask you a question
16       about the Federal Supply Schedule.                    You said in order
17       to obtain a contract pursuant to the Federal Supply
18       Schedule -- I thought what you said is you had to
19       have a contract with the Federal Supply Schedule, but
20       I may have misunderstood.
21                A          No, you didn't misunderstand.
22                Q          Okay.     How -- how do you get the first
23       contract with the Federal Supply Schedule, I guess is
24       my question?
25                A          Well, you call up the GSA and you tell

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1        that time was named Allen Johnson.
2                 Q          Allen Johnson?
3                 A          Yes.
4                 Q          Okay.     Thank you.        And was the option
5        for Region 4 exercised early?
6                 A          I do recall it was, yes, shockingly
7        early.
8                 Q          You thought it was shockingly early?
9                 A          Yes.
10                Q          During this period of time that Ultima
11       was performing task orders under the IDIQ, did you
12       continue to communicate with permanent staff at the
13       NRC offices regarding Ultima's performance?
14                A          Yes.
15                Q          Do you recall which NRCS offices you
16       communicated with?
17                A          All of them.
18                Q          All of them?
19                A          All of them -- excuse me -- let me take
20       that back.        Every state where I was the
21       administrative contract officer over the task order,
22       I communicated with those states more or less on a
23       daily basis, and I've gotten feedback about the
24       Ultima contract, yes.
25                Q          And did they communicate to you their

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1        opinion of Ultima's performance in their office?
2                 A          Yes.
3                 Q          And generally speaking, what were their
4        comments about Ultima's performance?
5                 A          Without exception, they were described
6        as outstanding or excellent.
7                 Q          Did you have any involvement with the
8        decision to cancel the IDIQ contract?
9                 A          No.
10                Q          Were you surprised when the IDIQ
11       contracts were canceled?
12                A          Yes.
13                Q          Okay.     Why?
14                A          It -- it seemed to be a win-win
15       situation for both the government, the contractor,
16       and the customers.            The contracts ran smoothly, there
17       was little turnover of personnel.                   Ms. Bennett, the
18       owner of Ultima, had excellent rapport with the
19       customers.        It was -- it was a smooth sailing ship.
20                      MR. ROSMAN:         So Michelle, if you could put
21       the decision memo into Exhibit Share.
22                      MS. SCOTT:        Hang on just a second.
23                      MR. ROSMAN:         We're going to test our
24       technological capabilities now, Mr. Stover.
25                      THE WITNESS:          Okay.

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1                 Q          Okay.     That's really what I was trying
2        to get at.        That's fine.         So did you speak with NRCS
3        personnel in Colorado about Ultima's performance
4        under this task order?
5                 A          Several times.
6                 Q          Oh, I'm sorry, I meant to -- was there a
7        task order prior to this one, the one that we just
8        looked at, so cover --
9                 A          I don't remember.
10                Q          Okay.     Fair enough.         So what did the
11       NRCS person in Colorado communicate with you
12       concerning Ultima's performance in Colorado under
13       that task order?
14                A          Well, they went to the regional
15       conservationist, Mr. Astor Boozer, and had Mr. Boozer
16       call me to do -- change the termination around and to
17       give Ultima back the contract, because they were --
18       they were of the opinion that they could not -- that
19       Ultima had been a really good contractor and they did
20       not want to lose them.
21                Q          So now I'm going to just ask you about
22       your authority after the IDIQ contracts were
23       canceled.        If a task order had been issued pursuant
24       to the IDIQs prior to the time that you learned that
25       the IDIQs had been canceled, did you have the

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1                 A          Yeah, pretty much, yes.
2                 Q          Well, just to close the loop here, let's
3        go out and take a look at Exhibit 12.                      And can you
4        just identify this document for us?
5                 A          Yes, this is the contract for the 8(a)
6        company, Time Systems, in Colorado.
7                 Q          Okay.     Very good.        Thank you.
8                       MR. ROSMAN:         Michelle, if you could put HI1
9        into Exhibit Share, that would be great.
10       BY MR. ROSMAN:
11                Q          While she's doing that, Mr. Stover, did
12       you give any thought -- let me rephrase the question.
13       Do you recall whether you considered the possibility
14       of trying to meet the requirements through a total
15       small business set aside in Colorado?
16                A          I don't remember what my thought process
17       was.
18                Q          Do you know someone named Randy Randall?
19                A          Yes, I know Mr. Randall.
20                Q          Did you ever have any conversations with
21       Mr. Randall about the requirement in Colorado for
22       administrative services?
23                A          Yes, Mr. Randall very much wanted to
24       keep the Ultima contract in place.                    Him and the
25       Colorado state conservationist went to Mr. Astor

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1        Boozer, who was the regional conservationist, and
2        appealed to him to get me to change my mind and to
3        carry on with the Ultima contract.                    But as I
4        explained to Mr. Boozer, that decision had already
5        been made by my higher headquarters.
6                 Q          All right.        If you could look at Exhibit
7        13 now.       It's a little light.             I was wondering if
8        this is a document that you remember and/or can
9        identify?
10                A          Yeah, this looks like a -- this looks
11       like a answer to a question from a solicitation from
12       Hawaii where the contractor had called in and asked
13       for what was the contract price, who had the contract
14       before, and when did they have it, things of that
15       nature.
16                Q          Got it.      And did you -- is this
17       something you wrote?
18                A          I don't -- I don't remember.                 I would
19       suppose I did.
20                Q          You're listed as the contracting officer
21       on the second page?
22                A          Well, yeah, that means I probably wrote
23       it, yeah.
24                Q          Okay.     That's really what I was trying
25       to get at.        So even if you don't remember, it's most

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1        number is just an estimate, just -- just like you
2        would on a construction contract, you'd give this --
3        a magnitude of the services, just some kind of
4        ballpark figure of what you think the services should
5        cost.
6                 Q          More generally, did you find that the
7        cost of using the 8(a) program were either higher or
8        lower than the costs of using Ultima under the IDIQ
9        contracts?
10                A          Generally speaking -- and not about
11       Ultima, just generally speaking -- 8(a) tends to be
12       higher because there's no competition.                      You know,
13       you're comparing a -- you're offering up a sole
14       source contract to one person, and there's not a
15       bidding process.           Just by having a bidding process
16       makes the price lower.              So generally speaking, not
17       specifically to the Ultima contracts, the prices are
18       lower when you compete it.
19                Q          All right.        One more question about this
20       document.        I've noticed that a number of offerings
21       that you personally have done tend to be by e-mail;
22       is that right -- was that your tendency?
23                A          Yeah, I kind of evolved to that because
24       of when I first started at NRC -- well, I won't tell
25       any stories.         But because of my experience, I found

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1                 Q          Oh, okay.       Good, good, good.            Thank you
2        for letting me know that.                You see under Hawaii
3        Administrative Services?
4                 A          Yes, I'm seeing that.
5                 Q          You see where it says question number 2?
6                 A          Yes, I do.
7                 Q          Okay.     And then just go one paragraph
8        below that, and just read the first sentence there.
9                 A          Yes, that's accurate.
10                Q          Okay.     And is that -- so that was
11       accurate for the Hawaii contract.                    Was it also true
12       for the Montana and Utah contracts?
13                A          Yes, everything came together, and it
14       was year end, and this is one of 25 contracts I was
15       working on.
16                Q          Okay.     And so there was -- the end of
17       fiscal year workload was a motivating factor in
18       utilizing the 8(a) program?
19                A          No, not -- not really, because my -- my
20       initial intent was to do full and open competition,
21       and what happened is that the response to the full
22       and open competition was overwhelming, I had over 22
23       pages of questions about the solicitations from
24       people who wanted to bid on it, and I just -- and I
25       would answer one set of questions, and the next

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1        morning my e-mail would be filled with another box of
2        questions.        And we were getting closer and closer to
3        the end of the fiscal year, and that more than
4        anything else was the reason why I turned to the
5        8(a).        I simply just couldn't keep up with the amount
6        of questions being asked about these solicitations
7        with the year end coming.
8                 Q          So how long does it generally take to
9        award a contract that is competitively bid upon
10       outside of the 8(a) program?
11                A          Well, that's -- it could take three
12       days, it could take three months.                    I mean, it depends
13       on what the project is, what's the magnitude, the
14       moving pieces on it, the valuation process, who you
15       need to include in the valuation process, are you
16       going to be the sole -- are you going to be the sole
17       selection authority, are you going to have some sort
18       of valuation board that you have to make time to get
19       together to talk over the proposals?                     And of course,
20       it depends on the amount of proposals you can get.
21       If you put out this wide administrative services and
22       you get two bids, you know, you could do it in an
23       afternoon.        But if you put it out and get 157 bids,
24       as I have received one time -- not for Hawaii, but
25       for another state -- it takes more of an effort to go

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1
2        BY MR. ROSMAN:
3                 Q          The contract says May 2017 to 2022.                    Is
4        that unusual for the dates on the signatures to be a
5        year later than the start date of the contract, or
6        almost a year?
7                 A          No, if I were to venture -- I would bet
8        that the -- the date itself is wrong, I would
9        venture, because as you said before, the IDID -- the
10       IDIQ contract did not start till 2018.                      And this
11       specifically says it was using the LAPSS
12       administrative contract, which did not start till
13       2018.        So this date would have to be wrong.
14                Q          Okay.     So I'm still a little confused,
15       so let me make sure I understand it.                     When do you
16       think the task order for Ultima to provide
17       administrative services for the NRCS offices in
18       Washington was issued?
19                A          Well, it would have had to have been
20       issued after the issuance of the IDIQ contract.
21                Q          So that would be 2017; is that right?
22                A          No, I mean -- I think it was -- I
23       thought it was 2018.             Was it 2017?
24                Q          I think we've discussed earlier --
25                A          I mean, I don't remember.               You know,

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1        you're asking me about something that happened, you
2        know, four or five years ago.                  I mean, I'm sorry, I
3        don't remember the sequence.                 And you know -- and
4        there are documents with mistakes in them, so I mean,
5        I don't -- I don't know what you want me to say, you
6        know, if -- it would appear from this that Ultima had
7        the contract, that the contract was ordered
8        terminated because they hit their ceiling, and that I
9        went to the 8(a) program and gave it to POWTEC, and
10       once POWTEC graduated, I passed it on to another
11       8(a) -- that would appear to be the sequence of
12       events to me.
13                Q          Okay.     So let's go back then to your
14       decision to award the requirement to POWTEC through
15       the 8(a) program.
16                A          Okay.
17                Q          Why did you do that?
18                A          Well, we've been through this once
19       before.       I went through this in painstaking detail
20       this morning about why I awarded to POWTEC.                         Don't
21       you remember that?
22                Q          I think we were talking about a
23       different state.
24                A          No, we were talking about Washington
25       state.

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1        California was trying to do a sole source
2        justification to use Ultima on a bridge contract that
3        was going to last a year, I believe -- it may have
4        been six months, but I think it was a year.                         You
5        showed me that document this morning.                      We were not
6        talking about Washington.                We were talking about
7        California in terms of -- of that particular
8        contract.        And when I told you about POWTEC, we were
9        talking about the State of Washington.
10                Q          Okay.     All right.        So then let me just
11       make sure I understand your testimony.                      You chose to
12       use the 8(a) program to provide NRCS offices in
13       Washington with administrative services because there
14       was a time crunch?
15                A          Yeah, absolutely there was a time crunch
16       in Washington.
17                      MR. ROSMAN:         Okay.     Very good.
18                              All right.        Michelle, if you could
19       give me OR1 and OR2.             And you might as well do OR3 as
20       well.
21       BY MR. ROSMAN:
22                Q          Mr. Stover, if you could just take a
23       quick look at Exhibit 25.                Is this a document that
24       you can identify?
25                A          Yeah, looks like a request to go to the

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1                         CERTIFICATE OF COURT REPORTER
2
3
4                          I, Karina L. Jennings, do hereby certify
5        that I recorded verbatim the proceedings in the
6        aforementioned case on May 5, 2022.
7                       I further certify that the foregoing pages,
8        numbering 1 through 116 inclusive, constitute a true,
9        accurate, and complete transcript of said
10       proceedings.
11                      Given under my hand this 24th day of May,
12       2022.
13
                                      <%25371,Signature%>
14                         _____________________________________
15                      Karina L. Jennings, Court Reporter
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2      Howard Stover (#5214347)

3                            E R R A T A      S H E E T

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6      REASON____________________________________________

7            12 LINE_____
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10          14
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12     REASON____________________________________________

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15     REASON____________________________________________

16          109 LINE_____
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17     __________________________________________________

18     REASON____________________________________________
           VARIOUS
19                                  see below
       PAGE_____ LINE_____ CHANGE________________________

20     28 instances where I was quoted as saying "yeah" should be "yes"
       __________________________________________________

21     REASON____________________________________________

22

23     ________________________________             _______________

24     Howard Stover                                        Date

25

                                  Veritext Legal Solutions
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2      Howard Stover (#5214347)

3                            E R R A T A      S H E E T

4           59 LINE_____
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                     24 CHANGE________________________

5     __________________________________________________

6     REASON____________________________________________

7           65
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                 LINE_____          had to hadn't
                           CHANGE________________________

8     __________________________________________________

9     REASON____________________________________________

                       11           throw to federal
10          81
       PAGE_____ LINE_____ CHANGE________________________

11    __________________________________________________

12    REASON____________________________________________
             86 LINE_____        properly to improperly
                      23 CHANGE________________________
13     PAGE_____

14    __________________________________________________

15    REASON____________________________________________

16          87
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                 LINE_____         stitch to stench
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17    __________________________________________________

18    REASON____________________________________________

19          92
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                 LINE_____          valuation to evaluation
                           CHANGE________________________

20    ___________________________________________________

21    REASON_____________________________________________

22

23     ________________________________             _______________

24     Howard Stover                                        Date

25

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1      Ultima Services Corporation          v. US Department Of Agriculture Et

2      Howard Stover (#5214347)

3                          ACKNOWLEDGEMENT OF DEPONENT

4           I, Howard Stover, do hereby declare that I

5      have read the foregoing transcript, I have made any

6      corrections, additions, or changes I deemed necessary as

7      noted above to be appended hereto, and that the same is

8      a true, correct and complete transcript of the testimony

9      given by me.

10

11     ______________________________              23 June 2022
                                                   ________________

12     Howard Stover                                   Date

13     *If notary is required

14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                            ______ DAY OF ________________, 20___.

16

17

18                            __________________________

19                            NOTARY PUBLIC

20

21

22

23

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